
*1256OPINION.
Marquette
: The taxpayer alleged in its petition that the amount of $52,591.91 involved herein represents expenditures made by it prior to the year 1896 for organization, experimental and laboratory work and in development necessary to establish the company and its business; that these expenditures were of a capital nature and that the amount thereof should be included in its invested capital for the year 1919.
The Commissioner in his answer denied the material allegations of the taxpayer’s petition, and it is therefore incumbent upon the taxpayer to establish by competent evidence the facts alleged in order to entitle it to the relief sought. The only evidence presented is a copy of a report of an investigation of the taxpayer’s books made by a revenue agent, the material part of which is set forth in the findings of fact. Assuming all of the statements made in the report to be true, it nevertheless falls short of showing that the $52,591.91 in .question should be included in the taxpayer’s invested capital. There is nothing in the pleadings or the evidence which would warrant us in disturbing the Commissioner’s determination.

Judgment for the Commissioner.

